        Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 1 of 40




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MARC REICHBART, individually
and on behalf of all others similarly
situated,                                   Case No. 2:24-cv-01876-NIQA

                        Plaintiff,
                                            CLASS ACTION
                  v.

FINANCIAL BUSINESS AND CONSUMER
SOLUTIONS, INC.,

                        Defendant.


JOSEPH STALLONE, individually
and on behalf of all others similarly       Case No. 2:24-cv-01901-NIQA
situated,

                        Plaintiff,          CLASS ACTION

                  v.

FINANCIAL BUSINESS AND CONSUMER
SOLUTIONS, INC.,

                        Defendant.


ALISON CROTEAU, individually
and on behalf of all others similarly       Case No. 2:24-cv-01946-NIQA
situated,

                        Plaintiff,          CLASS ACTION

v.

FINANCIAL BUSINESS AND CONSUMER
SOLUTIONS, INC.,

                        Defendant.
        Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 2 of 40




KEVIN BROOKS, individually
and on behalf of all others similarly       Case No. 2:24-cv-02007-NIQA
situated,

                        Plaintiff,          CLASS ACTION

v.

FINANCIAL BUSINESS AND CONSUMER
SOLUTIONS, INC.,

                        Defendant.


JESSE R. APTHORP, individually
and on behalf of all others similarly       Case No. 2:24-cv-02024-PD
situated,

                        Plaintiff,          CLASS ACTION

v.

FINANCIAL BUSINESS AND CONSUMER
SOLUTIONS, INC.,

                        Defendant.


MICKEY HWANG, individually
and on behalf of all others similarly       Case No. 2:24-cv-02033-NIQA
situated,

                        Plaintiff,          CLASS ACTION

v.

FINANCIAL BUSINESS AND CONSUMER
SOLUTIONS, INC.,

                        Defendant.
        Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 3 of 40




SOPHIE CAHEN VORBURGER, individually
and on behalf of all others similarly       Case No. 2:24-cv-02045-NIQA
situated,

                        Plaintiff,          CLASS ACTION

v.

FINANCIAL BUSINESS AND CONSUMER
SOLUTIONS, INC.,

                        Defendant.


DANA KERR, individually
and on behalf of all others similarly       Case No. 2:24-cv-02075-NIQA
situated,

                        Plaintiff,          CLASS ACTION

v.

FINANCIAL BUSINESS AND CONSUMER
SOLUTIONS, INC.,

                        Defendant.


DERRICK VINES and BRADFORD WICKS,
individually and on behalf of all others    Case No. 2:24-cv-02085-NIQA
similarly situated,

                        Plaintiffs,         CLASS ACTION

v.

FINANCIAL BUSINESS AND CONSUMER
SOLUTIONS, INC.,

                        Defendant.
        Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 4 of 40




GRIFFIN R. WAGNER, individually
and on behalf of all others similarly       Case No. 2:24-cv-02119-NIQA
situated,

                        Plaintiff,          CLASS ACTION

v.

FINANCIAL BUSINESS AND CONSUMER
SOLUTIONS, INC.,

                        Defendant.


JEROME FRASIER, individually
and on behalf of all others similarly       Case No. 2:24-cv-02121-NIQA
situated,

                        Plaintiff,          CLASS ACTION

v.

FINANCIAL BUSINESS AND CONSUMER
SOLUTIONS, INC.,

                        Defendant.


DUSTIN BUSBY, individually
and on behalf of all others similarly       Case No. 2:24-cv-02129-TJS
situated,

                        Plaintiff,          CLASS ACTION

v.

FINANCIAL BUSINESS AND CONSUMER
SOLUTIONS, INC.,

                        Defendant.
        Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 5 of 40




TIMOTHY COURTNEY, individually
and on behalf of all others similarly       Case No. 2:24-cv-02153-NIQA
situated,

                        Plaintiff,          CLASS ACTION

v.

FINANCIAL BUSINESS AND CONSUMER
SOLUTIONS, INC. d/b/a FBCS, INC.,

                        Defendant.


ONIEQUE MORGAN, individually
and on behalf of all others similarly       Case No. 2:24-cv-02163--NIQA
situated,

                        Plaintiff,          CLASS ACTION

v.

FINANCIAL BUSINESS AND CONSUMER
SOLUTIONS, INC.,

                        Defendant.


             AMENDED MEMORANDUM OF LAW IN SUPPORT OF
             COORDINATED PLAINTIFFS’ AMENDED MOTION TO
     CONSOLIDATE CASES AND APPOINT INTERIM CO-LEAD CLASS COUNSEL
       Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 6 of 40




                                              TABLE OF CONTENTS

I.     BACKGROUND ................................................................................................................. 4

II.    ARGUMENT....................................................................................................................... 5

       A.         The Related Actions Should Be Consolidated ........................................................ 5

       B.         The Court Should Appoint Proposed Class Counsel ............................................... 7

             1.       Appointing a Three-Lawyer Interim Co-Lead Counsel Structure Is
                      Appropriate Given the Complexity of the Litigation and Claims ...................... 7

             2.      Legal Standard for Lead Counsel Appointment ................................................. 8

                       a.       Proposed Interim Co-Lead Counsel and Their Law Firms Have
                                Performed Substantial Work in Identifying and Investigating the
                                Claims in This Action ............................................................................. 9

                       b.       Proposed Interim Co-Lead Counsel and Their Law Firms Have
                                Substantial Knowledge About and Are Experienced in Leading and
                                Successfully Resolving Data Privacy Class Actions ............................ 10

                       c.       Proposed Interim Co-Lead Counsel Are Committed to Representing
                                and Advancing the Interests of the Class .............................................. 26

                       d.       Additional Factors Supporting Appointment Under Rule 23(g)(1)(B) . 27

III.   CONCLUSION ................................................................................................................. 29




                                                                       i
          Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 7 of 40




                                              TABLE OF AUTHORITIES


CASES
Beture v. Samsung Elecs. Am., Inc.,
  No. 17-5757 (SRC), 2018 U.S. Dist. LEXIS 50413 (D.N.J. Mar. 27, 2018) .............................. 8

Cartee-Haring v. Cent. Bucks Sch. Dist.,
 No. 20-cv-1995, 2021 WL 5506419 (E.D. Pa. Nov. 24, 2021) ................................................... 6

Collins v. Rutter's Inc.,
 No. 1:20-cv-00382, 2020 U.S. Dist. LEXIS 52214 (M.D. Pa. Mar. 26, 2020) ........................... 6

Demarco v. Avalonbay Cmtys., Inc.,
 No. 15-628 (JLL), 2015 U.S. Dist. LEXIS 194344 (D.N.J. Mar. 17, 2015) ............................... 8

DiPierro, et al. v. Florida Health Sciences Center, Inc.,
  No. 8:23-cv-01864-KKM-NHA (M.D. Fla.) ............................................................................. 11

Ellerman Lines, Ltd. v. Atlantic & Gulf Stevedores, Inc.,
  339 F. 2d 673 (3d Cir. 1964)........................................................................................................ 6

Fulton-Green v. Accolade, Inc.,
  No. 18-cv-274, 2019 WL 4677954 (E.D. Pa. Sept. 24, 2019) ................................................... 10

Gordon v. Chipotle Mexican Grill, Inc.,
 No. 17-cv-1415, 2019 WL 6972701 (D. Colo. Dec. 16, 2019) ................................................. 10

Gravley, Sr. v. Fresenius Vascular Care, Inc. d/b/a Azura Vascular Care,
  No. 2:24-cv-01148-MMB (E.D. Pa. Apr. 30, 2024) ................................................................... 6

In re Shop-Vac Mktg. & Sales Practices Litig.,
  No. MDL No. 2380, 2013 U.S. Dist. LEXIS 7023 (M.D. Pa. Jan. 17, 2013) ......................... 8, 9

In re Terazosin Hydrochloride Antitrust Litig.,
  220 F.R.D. 672 (S.D. Fla. 2004) ................................................................................................ 11

In re: MoveIt Customer Data Security Breach Litigation,
  No. 1:23-md-03083 (D. Mass.) .................................................................................................. 11

In Re: Procter & Gamble Aerosol Products Marketing and Sales Practices Litigation,
  No. 2:22-md-03025-MHW-CMV (N.D. Ohio) ......................................................................... 11



                                                                        ii
           Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 8 of 40




Leitermann, et al. v. Forefront Dermatology SC, et al.,
  No. 1:21-cv-00887-LA (E.D. Wis.) ........................................................................................... 11

Nelson v. Connexin Software Inc.,
  No. 2:22-CV-04676, 2023 WL 2721657 (E.D. Pa. Mar. 30, 2023) ............................................ 7

Outten v. Wilmington Tr. Corp.,
 281 F.R.D. 193 (D. Del. 2012) .................................................................................................. 11

Tolmasoff v. General Motors, LLC,
  No. 16-11747, 2016 U.S. Dist. LEXIS 85101 (E.D. Mich. June 30, 2016) ................................ 8

OTHER AUTHORITIES
Bolch Judicial Institute, Duke Law School, Guidelines and Best Practices for Large and
 Mass-Tort MDLs at 38, 45-46 (2d ed. 2018) ............................................................................. 28

Manual for Complex Litigation (4th ed. 2004) ..................................................................... 3, 8, 28

RULES
Fed. R. Civ. P. 23(g) ...............................................................................................................passim

Fed. R. Civ. P. 23(g)(1) ................................................................................................................... 9

Fed. R. Civ. P. 23(g)(1)(A) .............................................................................................................. 9

Fed. R. Civ. P. 23(g)(1)(A)(i) ........................................................................................................ 10

Fed. R. Civ. P. 23(g)(1)(A)(iii)-(iii) .............................................................................................. 10

Fed. R. Civ. P. 23(g)(1)(A)(iv) ...................................................................................................... 27

Fed. R. Civ. P. 23(g)(1)(B) ............................................................................................................ 27

Fed. R. Civ. P. 23(g)(3) ................................................................................................................... 8

Fed. R. Civ. P. 23(g)(4) ................................................................................................................... 9

Fed. R. Civ. P. 42(a) .................................................................................................................... 5, 6




                                                                           iii
        Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 9 of 40




        Plaintiffs Marc Reichbart, Joseph Stallone, Alison Croteau, Kevin Brooks, Mickey Hwang,

and Dana Kerr (“Coordinated Plaintiffs”) seek entry of an order pursuant to: (1) Fed R. Civ. P.

42(a), consolidating the above-captioned actions, as well as any future related actions that may be

filed in, or transferred or removed, to this Court, under the docket of the first-filed Reichbart

Action (No. 2:24-cv-01876-NIQA) (collectively “Related Actions”); and (2) Fed. R. Civ. P. 23(g),

appointing Andrew W. Ferich of Ahdoot & Wolfson, PC (“AW”), Kristen Lake Cardoso of

Kopelowitz Ostrow Ferguson Weiselberg Gilbert (“KO”), and Charles E. Schaffer of Levin Sedran

& Berman, LLP (“LS”) as Interim Co-Lead Counsel; appointing Mariya Weekes of Milberg

Coleman Bryson Phillips Grossman, PLLC (“Milberg”), Tyler Bean of Siri & Glimstad LLP

(“SG”), and Jennifer M. French of Lynch Carpenter, LLP (“LC”) to a Plaintiffs’ Executive

Committee (“PEC”); and appointing Benjamin F. Johns of Shub & Johns LLC (“SJ”) as Liaison

Counsel (collectively “Proposed Class Counsel”).

        Proposed Interim Co-Lead Counsel recognize the magnitude of this litigation with nearly

2.7 million potential class members which may result in additional Related Actions being filed.

Rather than await a drawn-out consolidation and leadership appointment process (if and when

those cases are filed), in the spirit of efficiency and inclusion, Proposed Interim Co-Lead Counsel

request that the Court appoint the proposed leadership structure comprised of qualified attorneys,

who are well-versed in data breach and privacy law. Without such a mechanism, the litigation may

not advance for months while plaintiffs’ lawyers debate consolidation and who should be selected

to work on this significant litigation.

        Consolidation of the Related Actions is appropriate because they arise from the same

nucleus of operative facts—a data breach impacting Financial Business and Consumer Solutions,




                                                1
       Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 10 of 40




Inc. (“FBCS”) that reportedly exposed confidential and sensitive personally identification

information of nearly two million individuals.

       Appointment of interim class counsel here is particularly appropriate because, as described

below, it is important for Plaintiffs’ counsel representing the putative class to speak with one voice.

Appointment of interim class counsel now will clarify the roles and responsibilities of counsel on

behalf of the class. The risk of declining immediate appointment of interim class counsel includes:

(1) duplicative and unnecessary litigation resulting in inefficiencies to the parties and the courts,

and (2) a “reverse auction” whereby the lawyers who may subsequently file related cases seek to

“sell” a settlement to the defendant at the lowest amount. Only through prompt appointment of

well-qualified interim class counsel will the parties and the Court be assured these circumstances

will not occur.

       Proposed Interim Co-Lead Counsel are uniquely qualified to lead this litigation. Already,

they have performed substantial work to identify and investigate potential claims in this case. They

should be appointed as interim co-lead class counsel for at least the following reasons.

       First, Proposed Interim Co-Lead Counsel have the experience to effectively lead this

litigation on behalf of the putative class. They and their firms have been appointed to leadership

positions in many privacy cases and other class actions affecting large classes. The qualifications

and experience of Proposed Interim Co-Lead Counsel, other Proposed Class Counsel, and their

firms is discussed in greater detail in the firm resumes attached as Exhibits 1-7.

       Second, Proposed Interim Co-Lead Counsel and their respective data breach litigation

teams possess extensive knowledge of the applicable law. Their lawyers have heavily litigated,

conducted significant discovery (including depositions of information security officers, and

technical and damages witnesses and experts), and briefed essentially every aspect of privacy class




                                                  2
       Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 11 of 40




action cases. Their experience will allow Plaintiffs’ team to manage issues that are pivotal to the

success of this case with great efficiency, including standing, technical issues related to data

disclosures and class member identification, and damage evaluation.

       Third, Proposed Interim Co-Lead Counsel have diligently investigated and prosecuted this

case to date. The team has devoted substantial time to investigating the background facts, drafting

separate detailed complaints, coordinating with other plaintiffs’ counsel, and consulting with a

data security expert who will address the extent to which data disclosed in the breach has been

publicized for illegal purchase on the dark web or elsewhere. They have been contacted by

numerous consumers about this matter, enabling them to thoroughly understand the ways in which

consumers have been impacted by the data breach.

       Fourth, the team will effectively manage the litigation. Proposed Interim Co-Lead Counsel

and the other Proposed Class Counsel have led numerous complex litigations—including

together—and believe that an efficient, well-defined team structure will produce the best results.

To that end, Proposed Interim Co-Lead Counsel have agreed to work cooperatively rather than

filing competing leadership applications and were able to resolve questions of leadership structure

through cooperative private ordering. Through the private ordering process, see Manual for

Complex Litigation (“MCL”), §§ 10.22, 21.272 (4th ed. 2004), Proposed Interim Co-Lead Counsel

have agreed to propose a three-lawyer lead counsel structure and creation of a supporting three-

lawyer or three-law firm PEC with an eye toward maximizing litigation efficiency.

       Fifth, the proposed slate includes diverse lawyers whose combined talent, resources, and

perspectives will ensure the efficient and economical prosecution of the case. The diversity of the

proposed slate reflects the diversity of the bar and the classes they seek to represent.




                                                  3
           Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 12 of 40




           Finally, the team’s members are attorneys at firms which, together, can commit, and will

commit, sufficient resources to adequately represent the class.

          For the foregoing reasons and those that follow, Coordinated Plaintiffs respectfully request

the Court consolidate the Related Actions, and appoint Proposed Interim Co-Lead Counsel, the

Plaintiffs’ Executive Committee, and Liaison Counsel.

I.         BACKGROUND

           Financial Business and Consumer Solutions, Inc. is a Hatboro, Pennsylvania-based,

nationally licensed debt collection agency that provides accounts receivable management and

collection services across a variety of industries. It discovered a data breach (“Data Breach”)

beginning on or about February 26, 2024. FBCS’s investigation revealed that its network was

subject to unauthorized access between February 14-26, 2024, and the unauthorized actor(s) was

able to view or acquire certain information on the FBCS network during that period. According to

FBCS’s breach notice letters, the information accessed includes sensitive personal information

involving names, Social Security numbers, dates of birth, and account information.

           The cases filed to date are listed below:

     1.     Reichbart. v. Financial Business and Consumer Solutions, Inc., No. 2:24-cv-01876-NIQA
            (E.D. Pa.), filed May 2, 2024;

     2.     Stallone v. Financial Business and Consumer Solutions, Inc., No. 2:24-cv-01901 (E.D.
            Pa.), filed May 4, 2024;

     3.     Croteau v. Financial Business and Consumer Solutions, Inc., No. 2:24-cv-01946 (E.D.
            Pa.), filed May 7, 2024;

     4.     Brooks v. Financial Business and Consumer Solutions, Inc., No. 2:24-cv-02007 (E.D.
            Pa.), filed May 10, 2024;

     5.     Apthorp v. Financial Business and Consumer Solutions, Inc., No. 2:24-cv-02024 (E.D.
            Pa.), filed May 10, 2024;

     6.     Hwang v. Financial Business and Consumer Solutions, Inc., No. 2:24-cv-02033 (E.D.
            Pa.), filed May 13, 2024;


                                                       4
           Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 13 of 40




      7.    Vorburger v. Financial Business and Consumer Solutions, Inc., No. 2:24-cv-02045 (E.D.
            Pa.), filed May 13, 2024;

      8.    Kerr v. Financial Business and Consumer Solutions, Inc., No. 2:24-cv-02085 (E.D. Pa.),
            filed May 15, 2024;

      9.    Vines v. Financial Business and Consumer Solutions, Inc., No. 2:24-cv-02085 (E.D. Pa.),
            filed May 15, 2024;

      10. Wagner v. Financial Business and Consumer Solutions, Inc., No. 2:24-cv-02119 (E.D.
          Pa.), filed May 17, 2024;

      11. Frasier v. Financial Business and Consumer Solutions, Inc., No. 2:24-cv-02121 (E.D.
          Pa.), filed May 17, 2024;

      12. Busby v. Financial Business and Consumer Solutions, Inc., No. 2:24-cv-02129 (E.D. Pa.),
          filed May 17, 2024;

      13. Courtney v. Financial Business and Consumer Solutions, Inc., No. 2:24-cv-02153 (E.D.
          Pa.), filed May 20, 2024; and

      14. Morgan v. Financial Business and Consumer Solutions, Inc., No. 2:24-cv-02163 (E.D.
          Pa.), filed May 21, 2024;

           The Related Actions involve numerous common questions of law and fact, a common

defendant, and relate to the same Data Breach. While Coordinated Plaintiffs’ counsel could have

each moved for competing leadership positions, they met and conferred and agreed to combine

forces through the private ordering process to voluntarily coordinate and jointly litigate for the

benefit of the class.

II.        ARGUMENT

           A.      The Related Actions Should Be Consolidated

           Rule 42(a) of the Federal Rules of Civil Procedure provides:

           If actions before the court involve a common question of law or fact, the court may:
           (1) join for hearing or trial any or all matters at issue in the actions; (2) consolidate
           the actions; or (3) issue any other orders to avoid unnecessary cost or delay.

Fed. R. Civ. P. 42(a).




                                                      5
       Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 14 of 40




       “Rule 42(a) . . . confers upon a district court broad power, whether at the request of a party

or upon its own initiate, to consolidate causes for trial as may facilitate the administration of

justice.” Cartee-Haring v. Cent. Bucks Sch. Dist., Case No. 20-cv-1995, 2021 WL 5506419, at *1

(E.D. Pa. Nov. 24, 2021) (quoting Ellerman Lines, Ltd. v. Atlantic & Gulf Stevedores, Inc., 339 F.

2d 673, 675-76 (3d Cir. 1964)). To this end, courts have recognized that consolidation is

appropriate in data breach cases where two or more cases arise from the same occurrence. See,

e.g., Gravley, Sr. v. Fresenius Vascular Care, Inc. d/b/a Azura Vascular Care, Case No. 2:24-cv-

01148-MMB (E.D. Pa. Apr. 30, 2024) (consolidating two related actions, as well as any future

actions, arising out of a data breach, and appointing interim co-lead counsel); Collins v. Rutter’s

Inc., Case No. 1:20-cv-00382, 2020 U.S. Dist. LEXIS 52214, at *6 (M.D. Pa. Mar. 26, 2020)

(consolidating two actions, and any future actions, arising out of a data breach, and appointing

interim co-lead counsel).

       As noted above, the complaints in the Related Actions relate to common factual allegations

and legal theories. They assert multiple common causes of action against the same defendant—

FBCS—relating to the same factual underpinnings and seek the same relief in response to the

same event, i.e., the Data Breach. The Related Actions each seek certification of similar or

overlapping classes and allege that Plaintiffs and class members suffered harm because their

sensitive personal information was exposed to third parties without their authorization.

Consolidation of the Related Actions is warranted because it will simplify discovery, pretrial

motions, class certification issues, and other case management issues, especially given that the

cases are at their procedural inception, and it will avoid delay, duplicative litigation efforts, and

the risk of inconsistent rulings, without prejudicing any party. The Related Actions present the

quintessential consolidation scenario, and the Court should consolidate them to ensure judicial




                                                  6
       Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 15 of 40




economy and preserve party resources. See, e.g., Nelson v. Connexin Software Inc., No. 2:22-CV-

04676, 2023 WL 2721657, at *1 (E.D. Pa. Mar. 30, 2023) (consolidating similar data breach class

actions filed in the same district court).

        B.        The Court Should Appoint Proposed Class Counsel

             1.      Appointing a Three-Lawyer Interim Co-Lead Counsel Structure Is
                     Appropriate Given the Complexity of the Litigation and Claims

        Proposed Interim Co-Lead Counsel and their team believe a three-lawyer leadership

structure is the most efficient way to successfully litigate this action and pursue the best recovery

for Plaintiffs and the class. Given the enormity of the class (nearly 2.7 million people), the

complexity of the claims, the number of claims alleged, and the sophistication of the clients

involved, this structure will maximize recovery, while ensuring efficient prosecution of the claims.

Because FBCS is a lucrative, national debt collection agency with substantial resources and top-

tier representation, the proposed leadership structure ensures that Plaintiffs will have the necessary

resources to litigate the consolidated action. Plaintiffs will have the essential lawyers and capital

needed to oppose this corporate defendant.

        During all phases of the litigation, Proposed Interim Co-Lead Counsel will, among other

things: (i) organize and supervise the efforts of other Proposed Class Counsel and other Plaintiffs’

counsel in a manner to ensure that the necessary pretrial preparation is conducted effectively,

efficiently, expeditiously, and economically; (ii) delegate work responsibilities as needed, and

monitor the activities of any additional Plaintiffs’ counsel to ensure that schedules are met and

unnecessary expenditures of time and expense are avoided; (iii) speak for Plaintiffs at all

conferences and hearings; (iv) be the only attorneys authorized to initiate and conduct discussions

and negotiations with counsel for FBCS related to the putative class, on all matters, including

settlement; (v) determine (after consultation with other co-counsel as may be appropriate) and



                                                  7
          Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 16 of 40




present in briefs or oral argument to the Court and opposing parties the position of the Plaintiffs

on all matters arising during the proceedings; (vi) enter into stipulations with opposing counsel as

necessary for the conduct of the litigation; (vii) select, consult with, and employ experts, as

necessary, for Plaintiffs; (viii) initiate and conduct discovery on Plaintiffs’ behalf, and coordinate

its efficiency; and (ix) perform such other duties in connection with prosecuting the claims in this

action.

             2.     Legal Standard for Lead Counsel Appointment

          “Rule 23(g)(3) of the Federal Rules of Civil Procedure provides that the Court ‘may

designate interim counsel to act on behalf of a putative class before determining whether to certify

the action as a class action.’” In re Shop-Vac Mktg. & Sales Practices Litig., MDL No. 2380, 2013

WL 183855, at *1 (M.D. Pa. Jan. 17, 2013) (quoting Fed. R. Civ. P. 23(g)). Early appointments

are beneficial in complex cases because they help to “clarif[y] responsibility for protecting the

interests of the class during precertification activities, such as making and responding to motions,

conducting any necessary discovery, moving for class certification, and negotiating settlement.”

MCL § 21.11; see, e.g., Tolmasoff v. General Motors, LLC, No. 16-11747, 2016 WL 3548219, at

*9 (E.D. Mich. June 30, 2016) (appointing interim class counsel where competing cases “may

follow”). Early appointments are particularly important where, as here, other cases may be filed

by other counsel in this and other courts. See, e.g., Beture v. Samsung Elecs. Am., Inc., No. CV 17-

5757 (SRC), 2018 WL 3159875, at *1 (D.N.J. Mar. 27, 2018) (“This Court is persuaded that it is

in the interest of the putative class of Plaintiffs to prevent a competition between counsel, and to

encourage the coordination and cooperation of counsel by granting this motion.”); Demarco v.

Avalonbay Cmtys., Inc., Civil Action No. 15-628 (JLL), 2015 U.S. Dist. LEXIS 194344, at *7

(D.N.J. Mar. 17, 2015) (early appointment “will promote clarity, efficiency, and greater

coordination”).


                                                  8
       Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 17 of 40




       “The same factors governing the appointment of class counsel [at the class certification

stage] apply when appointing interim class counsel.” In re Shop-Vac Mktg. & Sales Practices

Litig., 2013 U.S. Dist. LEXIS 7023, at *6. As a result, courts appointing interim class counsel

under Rule 23(g)(1)(A) consider:

       (i)    the work counsel has done in identifying or investigating potential claims in the
              action;

       (ii)   counsel’s experience in handling class actions, other complex litigation, and the types
              of claims asserted in the action;

       (iii) counsel’s knowledge of the applicable law; and

       (iv) the resources that counsel will commit to representing the class.

Id. (citing Fed. R. Civ. P. 23(g)(1)).

       As discussed below, each of the relevant Rule 23(g) factors demonstrates that Proposed

Interim Co-Lead Counsel, and their law firms are best able to “fairly and adequately represent the

interests of the class.” Fed. R. Civ. P. 23(g)(4).

               a. Proposed Interim Co-Lead Counsel and Their Law Firms Have Performed
                  Substantial Work in Identifying and Investigating the Claims in This
                  Action

       Proposed Interim Co-Lead Counsel and their law firms have committed appropriate, yet

substantial, time and resources to organizing and working toward the advancement of this

litigation, investigating and researching the potential legal theories and claims at issue, and

researching and reviewing information relating to the factual underpinnings of the Data Breach

and this litigation. Proposed Interim Co-Lead Counsel and their law firms are familiar with the

facts and legal issues in this matter based upon their detailed investigation and as a result of

communicating with affected persons potentially impacted by the Data Breach.

       Their law firms continue to perform substantial work that has been (and will be) valuable

to the class as the case moves forward. This includes, but is not limited to, the following:


                                                     9
       Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 18 of 40




(a) reviewing consumer communications concerning the Data Breach; (b) engaging in ongoing

communications with putative class members; (c) investigating the scope of the Data Breach’s

consequences, and FBCS’s public response regarding the same; (d) researching potential claims

arising from the Data Breach and defenses thereto; (e) preparing and filing separate, detailed

complaints; (f) consulting with and retaining a technical expert to determine whether and the extent

to which information disclosed during the Data breach has been made available for sale or

otherwise publicized on the dark web; and (g) using their research to begin preparing a detailed,

consolidated class action complaint.

       Proposed Interim Co-Lead Counsel and their law firms have conducted all the work

necessary to prosecute this litigation thus far, and they stand ready, willing, and able to continue

devoting the substantial effort and resources (including the advancement of costs) necessary for

advancing Plaintiffs’ and class members’ claims. The Rule 23(g)(1)(A)(i) factor is satisfied.

               b. Proposed Interim Co-Lead Counsel and Their Law Firms Have
                  Substantial Knowledge About and Are Experienced in Leading and
                  Successfully Resolving Data Privacy Class Actions

       The Rule 23(g)(1)(A)(ii)-(iii) factors are also satisfied. Data privacy cases present unique

and novel issues of fact and law that are always evolving. See, e.g., Gordon v. Chipotle Mexican

Grill, Inc., Case No. 17-cv-1415, 2019 WL 6972701, at *1 (D. Colo. Dec. 16, 2019) (“Data breach

cases . . . are particularly risky, expensive, and complex.”); Fulton-Green v. Accolade, Inc., Case

No. 18-cv-274, 2019 WL 4677954, at *8 (E.D. Pa. Sept. 24, 2019) (“This is a complex case in a

risky field of litigation because data breach class actions are uncertain and class certification is

rare.”). Because data breach cases require an understanding of the technical issues of data hacking,

data privacy measures, and industry standards, appointing interim co-lead class counsel who are

experienced in such complex class action litigation, including data breach litigation and related

issues, is in the best interest of the Class. See Outten v. Wilmington Tr. Corp., 281 F.R.D. 193, 200


                                                 10
       Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 19 of 40




(D. Del. 2012) (“Experience and knowledge of the law is of the utmost importance when

determining lead counsel.”). Proposed Class Counsel and their firms have extensive experience

leading and litigating data privacy matters against large corporate defendants such as GEICO,

Apple, Google, Zoom, Tik Tok, Kroger, Wawa, Rutter’s, GameStop, Managed Care of North

America, Fortra, MoveIt, NationsBenefits, Johnson & Johnson, Prudential Insurance Co., Tyco

International Ltd., among others. And they have done so together in other cases. See, e.g.,

Leitermann, et al. v. Forefront Dermatology SC, et al., No. 1:21-cv-00887-LA (E.D. Wis.) (health

information data breach class action where final settlement approval was granted and AW and

Milberg were appointed as class counsel); DiPierro, et al. v. Florida Health Sciences Center, Inc.,

Case No. 8:23-cv-01864-KKM-NHA (M.D. Fla.) (health information data breach class action

where KO law firm is leading for Plaintiffs, and AW is supporting the litigation); In re: MoveIt

Customer Data Security Breach Litigation, 1:23-md-03083 (D. Mass.) (where Milberg was

appointed to the leadership committee in multi-district litigation involving a data breach that

impacted more than 95 million consumers); In Re: Procter & Gamble Aerosol Products Marketing

and Sales Practices Litigation, 2:22-md-03025-MHW-CMV (N.D. Ohio) (where Milberg serves

as co-lead class counsel in the multi-district litigation against Procter & Gamble and successfully

reached a settlement valued over $10 million).

       As demonstrated below, Proposed Interim Co-Lead Counsel and their firms are highly

qualified to lead this litigation and should be appointed as interim co-lead class counsel pursuant

to Fed. R. Civ. P. 23(g). See In re Terazosin Hydrochloride Antitrust Litig., 220 F.R.D. 672, 702

(S.D. Fla. 2004) (stating that the “most persuasive” factors in choosing lead counsel may be

proposed counsel’s “experience in, and knowledge of, the applicable law in this field”).




                                                 11
         Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 20 of 40




                 i.   Proposed Interim Co-Lead Counsel

        Andrew W. Ferich of Ahdoot & Wolfson, PC.1 Andrew W. Ferich joined AW as a

partner in 2021 and he has extensive experience serving in leadership and support roles in

complex class actions, including some of the highest profile data privacy and consumer class

action cases. Mr. Ferich is a leading national data privacy practitioner and his firm, AW, is one

of the most recognizable data privacy and consumer class action law firms in the United States.

Mr. Ferich is intimately familiar with the legal issues that will be at the center of this medical

information data breach litigation, and he will harness his experience in, and knowledge of, this

area of law to zealously advocate on behalf of Plaintiffs and the putative class members.

         Examples of Mr. Ferich’s leadership abound. He has been at the forefront of the highly

publicized Accellion FTA data breach litigation announced in late 2020. In two of the Accellion

cases, final approval was granted, and Mr. Ferich was appointed as co-lead class counsel. See

Harbour, et al. v. California Health & Wellness Plan, et al., No. 5:21-cv-03322 (N.D. Cal.) (Hon.

Edward J. Davila) (approved $10 million nationwide class action settlement, that also provided

robust injunctive relief); Cochran, et al. v. The Kroger Co., et al., No. 5:21-cv-01887-EJD (N.D.

Cal.), ECF No. 115 (approved $5 million nationwide class action settlement, that also provided

robust injunctive relief).

         Mr. Ferich has served or is serving as appointed class counsel in numerous data privacy

and other consumer class actions. Below are a few additional examples of his numerous

appointments and results in data privacy class actions:




1
    AW’s firm resume is attached hereto as Exhibit 1.

                                                 12
Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 21 of 40




 •   Gravley, Sr. v. Fresenius Vascular Care, Inc. d/b/a Azura Vascular Care, Case No.
     2:24-cv-01148-MMB (E.D. Pa.), a medical information data breach case where Mr.
     Ferich was recently appointed by this Court as one of interim co-lead class counsel;

 •   In re Keystone Data Breach Litig., No. 1:22-cv-01643-CCC (M.D. Pa.), a health
     information data breach impacting hundreds of thousands of Pennsylvanians, where
     Mr. Ferich is appointed as interim co-lead class counsel, and reached a common fund
     settlement that received final approval in a state court companion case;

 •   Nelson v. Connexin Software Inc. d/b/a Office Practicum, No. 2:22-cv-04676-JDW
     (E.D. Pa.), a pediatric medical information data breach case that has received
     preliminary approval of a $4 million common fund settlement, where Mr. Ferich is
     appointed to a Plaintiffs’ Steering Committee;

 •   Pessia, et al. v. Warren General Hospital, Case No. 501-23 (Pa. Common Pleas
     Warren Cty.), a health information data breach impacting nearly 200,000 patients,
     where Mr. Ferich is appointed as interim co-lead class counsel;

 •   Leitermann, et al v. Forefront Dermatology SC, et al., No. 1:21-cv-00887-LA (E.D.
     Wis.), where the district court recently granted approval of a settlement in a medical
     privacy matter that included a $3.75 million common fund and appointed Mr. Ferich
     as class counsel;

 •   Smeltz, et al. v. Logan Health, et al., No. A-DV-22-0124 (8th Judicial Dist. Ct.,
     Cascade Cty. Mar. 31, 2022), a medical data breach class action where the sensitive
     information of hundreds of thousands of Montanans was reportedly exposed to
     cybercriminals. Mr. Ferich, with co-counsel, reached a $4.3 million common fund
     settlement with the defendant that has received final approval;

 •   Lukens v. Utah Imaging Assocs., No. 210906618 (Dist. Ct. Salt Lake Cnty., Utah), a
     medical data breach case where Mr. Ferich is appointed one of settlement class
     counsel and helped establish a settlement fund of $2.1 million for approximately
     583,642 victims;

 •   Briscoe v. First Financial Credit Union, Case No. D-202-CV-2022-02974 (New
     Mexico 2d Judicial Dist. Ct. Bernalillo Cty.), a financial information data breach
     class action where final approval of a $1.6 million common fund settlement was
     recently granted, and Mr. Ferich was appointed co-lead class counsel; and

 •   Kesner, et al. v. UMass Mem’l Health Care, Inc., No. 2185 CV 01210 (Mass. Super.
     Ct.), a medical data breach case where the parties agreed to a $1.2 million common
     fund settlement that has received final approval from the court, and Mr. Ferich is
     appointed class counsel.




                                        13
       Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 22 of 40




       Mr. Ferich is routinely appointed in other, non-privacy class actions. For example, in

Udeen v. Subaru of Am., Inc., No. 18-17334 (RBK) (JS) (D.N.J.), Mr. Ferich was co-lead counsel

in a class action alleging a defect in Subaru’s Starlink infotainment system. The case resulted in a

settlement valued at $6.25 million, and the Court commended Mr. Ferich and his co-counsel,

noting that the plaintiffs’ team “are very skilled and very efficient lawyers . . . . They’ve done a

nice job.”); see also Steinhardt, et al. v. Volkswagen Group of America, Inc., et al., No. 3:23-cv-

02291-RK-RLS (D.N.J.) (Mr. Ferich is appointed co-lead counsel in lawsuit alleging defective

alternator in certain Audi automobiles); Cilluffo, et al. v. Subaru of America, Inc., et al., No. 1:23-

cv-01897-RBK-MJS (D.N.J.) (Mr. Ferich is appointed co-lead counsel in second case against

Subaru alleging defective Starlink infotainment systems in certain Subaru vehicles); Smith, et al.

v. VCA Inc., et al., No. 2:21-cv-09140-GW-AGR (C.D. Cal.) (Mr. Ferich is class counsel in

approved ERISA class action settlement relating to case alleging excessive recordkeeping and

administrative fees, and other fiduciary breaches).

       As set forth in more detail in the AW’s firm resume, Mr. Ferich and the lawyers at his firm

have led and continue to lead many privacy cases, including those involving data privacy (e.g.,

Zoom, Ring, GEICO), data breaches (e.g., Experian, Premera, Home Depot, OPM, Chipotle,

Kroger, loanDepot), geo-location tracking (e.g., Google Location History Litigation), collection

and storing of biometric information (e.g., Google, Shutterfly, Vimeo), and TCPA violations (e.g.,

Hollister, American Eagle), as well as many other types of consumer class actions (e.g., Eck—

$295 million class settlement against City of Los Angeles for unlawful utility taxes). Mr. Ferich

and AW are well-equipped to lead this matter on behalf of the class.




                                                  14
         Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 23 of 40




         Kristen Lake Cardoso of Kopelowitz Ostrow Ferguson Weiselberg Gilbert.2 Kristen

Lake Cardoso is a partner of KO and has been practicing law for 16 years. Established in 1997,

South-Florida based KO is one of the leading class-action lawsuit firms in the United States. KO

has handled class actions in state and Federal courts throughout the country.

         Ms. Cardoso is Co-Chair of KO’s Cybersecurity Department. She currently serves as

counsel in nationwide and statewide class action lawsuits concerning data breaches, as well as

violations of state consumer protection statutes, false advertising, defective products, and breaches

of contract. Ms. Cardoso has gained valuable experience representing individuals and businesses

in state and federal courts at both the trial and appellate levels in a variety of litigation matters,

including contractual claims, violations of consumer protection statutes, fraud, breach of fiduciary

duty, negligence, professional liability, real estate claims, enforcement of non-compete

agreements, trade secret infringement, shareholder disputes, deceptive trade practices, and other

business torts. She has also tried numerous cases at the state court level.

         KO is counsel of record in approximately 100 pending data breach cases. Three notable

cases in which KO is part of the leadership structure, all among the largest currently pending,

include: Crowe v. Managed Care of N. Am., Inc., No. 23-cv-61065 (S.D. Fla.), affecting eight

million individuals, where KO is Co-Lead Counsel for Plaintiffs; Fortra File Transfer Software

Data Sec. Breach Litig., No. 24-md-3090 (S.D. Fla.), an MDL involving six million individuals,

where KO is MDL Co-Lead Counsel; and In re HCA Healthcare Data Security Litigation, No.

3:23-cv-00684 (M.D. Tenn.), affecting eleven million people, where KO is on the Plaintiffs’

Executive Committee. KO is also Liaison Counsel in Skurauskis v. NationsBenefits, LLC, No.




2
    KO’s resume is attached hereto as Exhibit 2.

                                                   15
       Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 24 of 40




2:23-cv-60830 (S.D. Fla.) and on the Executive Committee in Doe v. Highmark, Inc., No. 2:23-

cv-00250-NR (W.D. Pa.), to name a few.

      In addition to data privacy and cybersecurity class actions, KO’s attorneys are also regularly

appointed lead counsel, co-lead counsel, liaison counsel, and class counsel in class actions in

federal and state courts involving unlawful bank fees, antitrust, product liability, false advertising,

insurance, and other consumer protection violations. KO is currently co-lead counsel in In re

Zantac (Ranitidine) Prod. Liab. Litig., No. 9:20-md-02924-RLR (S.D. Fla.), which is one of the

largest mass tort and class actions in MDL history. For the past 13 years, KO has served as

Coordinating Counsel, Settlement Class Counsel, and Lead Class Counsel in In re Checking Acct.

Overdraft Litig., No. 1:09-MD-02036-JLK (S.D. Fla.), another large MDL that resulted in the

recovery of $1.2 billion from the nation’s largest banks, and as Liaison Counsel in In re Disposable

Contact Lens Antitrust Litig., No. 3:15-md-2626-HES-JRK (M.D. Fla.), an antitrust class action

with $85 million recovered to date. Moreover, KO is co-counsel for Broward County and the City

of Fort Lauderdale in In re: National Prescription Opiate Litig., No. 1:17-md-2804 (N.D. Ohio),

and for the Broward and Miami-Dade County School Boards in In re Juul Labs, No. 19-md-2913

(N.D. Cal.) helping our clients recover $100 million and $26 million, respectively. To date, these

efforts have resulted in the resolution of more than 150 class cases totaling billions of dollars for

class members. In many of those settlements, KO also secured monumental and meaningful

industry-altering practice changes collectively worth billions of dollars. Ms. Cardoso and KO are

well-equipped to lead this matter on behalf of the class.




                                                  16
       Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 25 of 40




       Charles E. Schaffer of Levin Sedran & Berman.3 Charles E. Schaffer is a Philadelphia

native and partner with Levin Sedran & Berman, LLP (“Levin Sedran”), where he has practiced

for over two decades and leads the firm’s consumer class action and data breach and privacy teams.

Levin Sedran is a Philadelphia law firm which has earned recognition as a “class-action

powerhouse” due to pioneering the use of class action which resulted in numerous record-breaking

recoveries over the last four decades, and as a result, are frequently called upon to lead some of

the largest MDLs and complex litigation.4 See Exhibit 3. Mr. Schaffer’s stock and trade is leading

complex litigation, having been appointed to twenty leadership positions in various MDLs by

various district courts across the nation and having served in over forty leadership positions in

non-MDL complex litigation. See generally Exhibit 3. He has focused his practice representing

consumers victimized by defective products, data breaches, and unfair or deceptive practices and

helped recover billions of dollars in compensation.5 Of relevance, he has extensive experience

representing victims of data breaches and invasion of privacy, including serving in leadership and




3
  Levin Sedran & Berman’s firm resume is attached hereto as Exhibit 3.
4
  See, e.g., In re: Diet Drug Product Liability Litigation, MDL No. 1203 (E.D. Pa.) ($6.75 billion-
dollar settlement); In re Nat’l Football League Players’ Concussion Injury Litig., MDL No. 2323
(E.D. Pa.) (settlement in excess of $1 billion dollars); In re Chinese-Manufactured Drywall
Product Liab. Litig., MDL No. 2047 (E.D. La.) (settlement in excess of $1 billion dollars).
5
  See, e.g., Segebarth v. CertainTeed LLC, No. 19-5500 (E.D. Pa.), (Lead Counsel, nationwide
settlement valued at over $900 million); In re: CertainTeed Corporation Roofing Shingle Product
Liability Litigation, MDL No. 1817 (E.D. Pa.) (Liaison Counsel, nationwide settlement valued at
$687 to $815 million); In re: CertainTeed Siding Litigation, MDL No. 2270 (E.D. Pa) (Liaison
Counsel, $103.9 million nationwide settlement ); In re: JP Morgan Modification Litig., MDL No.
2290 (D. Mass.) (Lead Counsel , nationwide settlement valued at $506 million on behalf of bank
customers wrongfully denied mortgage modifications); Herrera v. Wells Fargo Bank, N.A., No.
8:18-cv-00332 (C.D. Cal.) (Lead Counsel, nationwide settlement in excess of $300 million to
repay borrowers for prepaid GAP insurance and unwarranted fees); In re Wells Fargo Ins. Mktg.
Sales Prac. Litig., MDL No. 2797 (C.D. Cal) (Executive Committee, $423.5 million nationwide
settlement to repay borrowers for unnecessary insurance and fees).



                                                17
       Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 26 of 40




as class counsel in over twenty-five data breach class actions throughout the country and in this

District, many of which include cases involving similar data security issues, data and claims

brought in this matter. See, e.g., In re MoveIt Customer Data Security Breach Litigation, MDL

3083 (D. Mass) (Lead Counsel, financial, health and personal data);6 Holden v. Guardian

Analytics, Inc., No. 2:23-cv-02156 (D.N.J.) (Lead Counsel, financial and personal data); In re:

NCB Mgmt. Serv., Inc. Data Breach Litig., No. 2:23-cv-01236 (E.D. Pa.) (Liaison counsel,

financial and personal data); Hasson v. Comcast Cable Communications, LLC, No. 2:23-cv-05039

(E.D. Pa.) (Executive Committee and Liaison counsel, personal data)In re: Overby-Seawell Co.

Cust. Data Sec. Breach Litig., MDL No. 3056 (N.D. Ga) (Executive Committee, financial and

personal data); Green v. Accolade, Inc., 2:18-cv-00274 (E.D. Pa.) (Lead Counsel, personal data);

Abdelmessih v. Five Below, Inc., 2:19-cv-01487 (E.D. Pa.) (Lead Counsel, personal data); In re

Wawa, Inc., Data Breach Litigation, No. 19-6019 (E.D. Pa.) (Co-Chair of third-party discovery

committee for financial track); In re: Carrier IQ Consumer Privacy Litigation, MDL No. 2330

(N.D. Cal.) (Executive Committee, personal data).7 He is well versed in the factual and legal

nuances of data breach cases, having dealt with the key issues that typically recur in data breach

class actions i.e. defendants’ duty to protect data, Article III standing, and damages.

       Mr. Schaffer and his team have been at the forefront of this litigation and took a leadership

role helping to organize and inform Plaintiffs’ counsel, resulting in the proposal of a self-organized




6
  This is the largest data breach to date with over 100 million victims’ PII and PHI compromised.
Mr. Schaffer was selected as one of five lead counsel after the court reviewed applications and
conducted interviews of over 50 applicants.
7
  He also served as a member of the litigation teams and assisted lead counsel in other major data
breach cases, including In re: Marriot Int’l Cust. Data Sec. Breach Litig., MDL No. 2879 (D. Md.)
(PII compromised); In re: Capital One Cons. Data Sec. Data Breach, MDL No. 2915 (E.D. Va.)
(PII compromised). See also Resume attached as Exhibit 3.

                                                 18
         Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 27 of 40




lead counsel structure consisting of the most experienced data privacy lawyers in the country. If

appointed, he will continue to help lead and form efficient working groups for the benefit of the

putative class. Mr. Schaffer is a demonstrated leader in both the bar and his community, served as

a United States Marine, and devotes his time outside of the courtroom to advancing and protecting

consumers’ and military service members’ interests.

                 ii.   Proposed Executive Committee Members

          Mariya Weekes of Milberg Coleman Bryson Phillips Grossman, PLLC.8 Mariya

Weekes is one of the lead cybersecurity attorneys at the international plaintiffs’ class action firm

Milberg. Since Milberg’s founding in 1965, it has repeatedly taken the lead in landmark cases that

have set groundbreaking legal precedents, prompted changes in corporate governance, and

recovered over $50 billion in verdicts and settlements.9 Milberg has been instrumental in obtaining

precedent setting decisions at every level, including at the United States Supreme Court.10 The

firm pioneered federal class action litigation and is widely recognized as a leader in defending the

rights of victims of corporate and other large-scale wrongdoing. Milberg has more than 100

attorneys on staff and offices across the United States and the European Union.

          Ms. Weekes is a former Florida State Circuit Court Judge, who sat on the bench for five

years. As a Florida Circuit Court Judge, she presided over thousands of complex cases, hundreds

of trials, and motions. In her capacity as a Circuit Court Judge, she served on the Circuit’s appellate




8
    Milberg’s firm resume is attached hereto as Exhibit 4.
9
  See, e.g., In re Tyco International Ltd., Securities Litigation, MDL 1335 (D.N.H.) (serving as
lead counsel and obtaining approval of $3.2 billion settlement); In re Prudential Insurance Co.
Sales Practice Litigation, No. 95-4704 (D.N.J.) (serving as lead counsel and recovering more than
$4 billion for policyholders); see also https://milberg.com/outstanding-recoveries/.
10
     See https://milberg.com/precedent-setting-decisions/page/3/.

                                                  19
       Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 28 of 40




panels reviewing appeals from the lower trial Courts and administrative agencies. Before

ascending to the bench, she practiced as a trial lawyer representing individuals and corporations in

complex cases throughout the state of Florida. As a practicing attorney, she has personally tried

dozens of jury trials to verdict and has participated in many significant cases. Both as a civil trial

lawyer and former prosecutor, she has handled complex cases from their inception through appeal.

Since leaving the bench, she now represents individuals and other entities in class action litigation

in both state and federal courts.

       Ms. Weekes has extensive experience serving as leadership in numerous class actions,

including as lead or co-lead counsel in large cases throughout the country. See, e.g., In Re:

LoanCare Data Security Breach Litigation, 3:23-cv-1508-MMH-MCR (M.D. Fla.) (where Ms.

Weekes was appointed co-lead counsel in a consolidated action involving more than 1.5 million

consumers); In re: MoveIt Customer Data Security Breach Litigation, 1:23-md-03083 (D. Mass.)

(where Milberg was appointed to the leadership committee in multi-district litigation involving a

data breach that impacted more than 95 million consumers);11 In Re: Procter & Gamble Aerosol

Products Marketing and Sales Practices Litigation, 2:22-md-03025-MHW-CMV (N.D. Ohio)

(where Milberg serves co-lead class counsel in multi-district litigation against Procter & Gamble

and successfully reached a settlement valued over $10 million); Delahoy v. Samsung Electronics

America Inc. et al., 2:22:cv-04132-CCC-CLW (D. NJ) (Milberg appointed as co-lead class counsel

to represent a nationwide class alleging Samsung ranges create a safety risk to Plaintiffs and the




11
  See, also Morrill v. Lakeview Loan Servicing, LLC, Case No. 1:22-cv-20955-DPG (S.D. Fla.)
(where Milberg is appointed to the leadership committee in a class action involving 6 million
consumers); Sherwood v. Horizon Actuarial Services, LLC, Case No. 1:22-cv-01495-ELR (N.D.
Ga.) (where Milberg is court-appointed co-lead counsel in a class action involving 4 million
consumers).

                                                 20
         Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 29 of 40




Class based upon their propensity for unintentional actuation). Milberg’s Cybersecurity and Data

Privacy Group is largely responsible for developing the favorable case law that many plaintiffs

rely on in the data breach space. See e.g., Webb v. Injured Workers Pharmacy, LLC, 72 F.4th 365

(1st Cir. 2023) (Milberg attorneys obtained a decision from the First Circuit reversing the dismissal

with prejudice of a data breach case and finding Article III standing); In re Arthur J. Gallagher

Data Breach Litig., 631 F. Supp. 3d 573, 586 (N.D. Ill. 2022) (Milberg attorneys largely defeated

a motion to dismiss in a data breach case involving 3 million consumers); In re Blackbaud, Inc.,

Customer Data Breach Litig., No. 3:20-MN-02972-JMC, 2021 WL 2718439, at *1 (D.S.C. July

1, 2021) (Milberg attorneys defeated a standing challenge in a 10 million person data breach case).

          Tyler J. Bean of Siri & Glimstad LLP.12 Mr. Bean is an attorney at Siri & Glimstad LLP,

a national class action firm that has served as class counsel in a broad spectrum of class action and

civil rights cases nationwide and recovered compensation for millions of individuals. Mr. Bean’s

practice concentrates on complex civil litigation and consumer class actions, with a particular

emphasis on data breach and privacy litigation. He has years of experience as a data breach and

privacy lawyer, having played a significant role in successfully litigating dozens of data breach

and privacy class actions from inception through discovery and leading to court approved

settlement.

          As a leading member of SG’s data breach and privacy group, Mr. Bean oversees all data

breach and privacy matters currently on SG’s docket, including cases in which SG served or is

serving as (1) settlement class counsel (e.g., Carter, et al. v. Vivendi Ticketing US LLC d/b/a See

Tickets, No. 8:22-cv-01981 (C.D. Cal.), which received final approval for a settlement involving




12
     SG’s Firm Resume is attached hereto as Exhibit 5.

                                                 21
       Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 30 of 40




437,310 class members and a $3,000,000 non-reversionary settlement fund; Gilleo et al. v.

California Pizza Kitchen, Inc., No. 8:2021-cv-01928-DOC-KES (C.D. Cal.), which settled with

over $2,000,000 of relief going to the class members; Armstrong et al. v. Gas South, LLC, Civil

Action No. 22106661 (Sup. Ct. Cobb Cty., Ga.) which received final approval for a settlement

involving 38,671 class members and valued at over $9 million; Medina v. Albertsons Companies,

Inc., Case No. 1:23-cv-00480 (D. Del.), which received final approval for a settlement involving

33,000 class members and a $750,000 non-reversionary settlement fund; and In re Sovos

Compliance Data Security Incident Litigation, Case No. 1:23-cv-12100-AK, which received

preliminary approval for a settlement involving roughly 490,000 class members and a

$3,534,128.50 non-reversionary settlement fund), and (2) court-appointed interim class counsel

(e.g., Pulliam et al. v. West Technology Group, Case No. 8:23-cv-159 (D. Neb.) (appointed as

interim co-lead class counsel); Perez v. Carvin Wilson Software LLC, Case No. cv-23-00792 (D.

Ariz.) (same), Nulf v. Alvaria, Inc., et al., Case No. 1:23-cv-10999 (D. Mass.) (same), Rasmussen

et al. v. Uintah Basin Healthcare, Case No. 2:23-cv-00322 (D. Ut.) (same), In re Family Vision

Data Security Incident Litigation, Case No. 2023CP0401671 (S.C., County of Anderson) (same);

In re Sovos Compliance Data Security Incident Litigation, Case No. 1:23-cv-12100 (D. Mass.)

(same); Boudreaux v. Systems East, Inc., Case No. 5:23-cv-01498 (N.D.N.Y.) (same); Scott et al

v. Union Bank and Trust Company, Case No. 4:23-cv-03126 (D. Neb.) (same, the court

commenting that “proposed interim co-lead counsel are experienced and qualified attorneys, and

each has knowledge of the applicable law, experience in managing and prosecuting cases involving

data security and privacy, notable successes against large corporate defendants, and resources they

are willing to expend to litigate these cases”); In re Data Security Litigation Against Brightline,

Inc., Case No. 3:23-cv-02132 (appointed as interim lead class counsel); and Skurauskis, et al. v.




                                                22
         Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 31 of 40




NationsBenefits Holdings, LLC, et al., Case No. 0:23-cv-60830 (S.D. Fl.) (appointed to the

plaintiffs’ executive committee)).

          Mr. Bean was also most recently appointed as interim co-lead counsel in In re Retina Group

of Washington Data Security Incident Litigation, Case No. 8:24-cv-00004 (D. Md.); Pacheco et

al. v. Community First Medical Center, Case No. 2023-CH08487 (Cir. Court of Cook Cty., Ill.);

In re Clearwater Credit Union Data Security Incident Litigation, Case No. DV-32-2023-0000761

(4th Judicial Dist., Missoula Cty., Mont.); and In re: Vivendi Ticketing US LLC, d/b/a See Tickets

Data Security Incident, Case No. 2:23-cv-07498 (C.D. Cal.), as well as to the plaintiffs’ executive

committee in Cain et al v. CGM, L.L.C. et al, Case No. 1:23-cv-02604 (N.D. Ga.), Krenk et al. v.

Murfreesboro Medical Clinic, P.A. d/b/a Murfreesboro Medical Clinic & Surgicenter, Case No.

2023-cv-81005 (Tenn. 16th Judicial Cir. Court, Rutherford Cty.), and In re Zeroed-in

Technologies, LLC Data Breach Litigation, Case No. 2:23-cv-01131 (M.D. Fl.).

          Jennifer M. French of Lynch Carpenter, LLP.13 Jenn French is a partner at the national

class action firm Lynch Carpenter, LLP and works in the firm’s San Diego office. Her practice

focuses on representing plaintiffs in privacy and data breach, employee wage and hour, and

consumer protection cases. Ms. French joined Lynch Carpenter in February 2024 to expand her

work representing consumers and plaintiffs on a national scale. She began her practice at the law

firm of Cooley LLP in San Diego, California. Cooley is a large national firm that focuses, among

other things, in complex litigation, including class action defense. Ms. French gained substantial

experience representing defendants in class action and complex litigation matters while at Cooley

and subsequent firms. Her extensive experience on the defense side provides Ms. French with a




13
     LC’s firm resume is attached hereto as Exhibit 6.

                                                  23
       Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 32 of 40




unique perspective and insight that has proven effective in representing plaintiffs and plaintiff

classes. In 2019, Ms. French joined a boutique class action firm in San Diego where she managed

all the firm’s cases from pre-trial through appeal. Ms. French secured tens of millions of dollars

for plaintiffs in cases throughout California, including a $10 million settlement for patients in a

privacy class action, Jones v. Sharp Healthcare, et al., Case No. 37-2017-00001377-CU-NP-CTL

(San Diego Cnty. Super. Ct., Sept. 29, 2023). Ms. French has been recognized by her peers as a

Rising Star in 2014 and 2017-2019 and as a Super Lawyer since 2022. She is a Master in the Louis

M. Welsh Chapter of the American Inn of Court and holds numerous leadership positions in

national and local bar associations.

       As the Duke Guidelines note, there is a substantial benefit in increasing leadership

appointments for qualified women attorneys in large, consolidated class litigation, as it “will

improve the likelihood of consideration of diverse ideas and perspectives.”14 Ms. French is a 44-

year-old woman in her 15th year of practice. She has argued before the California Court of Appeal,

is an accomplished trial attorney, and has the education, background and experience to effectively

lead consolidated litigation. Historically, women have not been appointed to leadership positions

at rates proportionate to their representation in the plaintiffs’ bar.15 Ms. French presents this Court

with an opportunity to diversify the universe of Plaintiffs’ counsel handling these types of cases

and to reject the “repeat player” dynamic that too often pervades this segment of the legal




14
   Bolch Judicial Institute, Duke Law School, Guidelines and Best Practices for Large and Mass-
Tort MDLs at 45 (2d ed. 2018), https://scholarship.law.duke.edu/cgi/viewcontent.cgi?articl
e=1004&context=bolch.
15
   Id.

                                                  24
         Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 33 of 40




profession. For these reasons, Ms. French respectfully submits her application to serve on the PEC

in this case.

          Ms. French will also benefit from the advice and support of other members of the Lynch

Carpenter team, who have extensive experience in data breach and privacy litigation. As set forth

in more detail in Lynch Carpenter’s firm resume (see Exhibit 6), the firm has been at the forefront

of data breach and privacy litigation and has generated seminal legal authority in both trial and

appellate courts on data privacy issues. For example, Lynch Carpenter (then known as Carlson

Lynch) forged the development of Pennsylvania’s data breach law with the seminal Supreme Court

of Pennsylvania decision in Dittman v. UPMC, 196 A.3d 1036 (Pa. 2018). The Pennsylvania

Supreme Court issued a landmark opinion—reversing the two lower courts—acknowledging that

general principles of negligence support holding those who collect and store personally identifying

information to a common law duty to reasonably safeguard such information from cyber-attack.

See Dittman, 196 A.3d at 1047.

          Given Ms. French’s experience, and Lynch Carpenter’s deep institutional knowledge base,

Ms. French will provide Plaintiffs and the putative class with the best of both worlds—the fresh,

creative thought process of an experienced woman attorney, combined with direct experience and

knowledge in complex, class action litigation, fully supported by one of the pioneering law firms

for data breach and privacy litigation in the country.

                iii.   Proposed Liaison Counsel

        Benjamin F. Johns of Shub & Johns LLC.16 Mr. Johns is a founding partner at Shub &

Johns LLC, which is headquartered in Conshohocken, Pennsylvania. He is qualified to serve as




16
     Shub & John’s firm resume is attached hereto as Exhibit 7

                                                 25
       Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 34 of 40




Plaintiffs’ Liaison Counsel in this litigation due to his history of successfully prosecuting data

breach and other complex class actions in this Court. As Judge Marston recently observed in

appointing Mr. Johns interim co-lead counsel:

       Mr. Johns...possess[es] extensive experience with class actions and the types of
       claims asserted, as well as considerable knowledge of the applicable law in this
       case. Mr. Johns, specifically, has almost 20 years of experience with complex class
       action cases and has been appointed Lead Counsel in data breach cases over a dozen
       times in various jurisdictions across the country; he has been appointed Lead
       Counsel in the Eastern District of Pennsylvania no less than three times.

       Meyers v. Onix Grp., LLC, No. CV 23-2288-KSM, 2023 WL 4630674, at *2 (E.D. Pa. July

19, 2023) (citations omitted). He was appointed as one of four co-lead counsel to represent the

consumer class by Judge Pratter in In re Wawa, Inc. Data Security Litig., No. 2:19-cv-06019-

GEKP (E.D. Pa.), and argued an appeal in that matter in the Third Circuit last year. Mr. Johns has

also been appointed co-lead counsel in the following data breach cases in the Eastern District:

Nelson v. Connexin Software Inc. d/b/a Office Practicum, No. 2:22-cv-04676-JDW (E.D. Pa.) (co-

lead counsel; $4 million settlement pending final approval); In re NCB Management Services, Inc.

Data Breach Litig., No. 2:23-cv-1236-KNS (E.D. Pa.) (co-lead counsel); Gravley v. Fresenius

Vascular Care, Inc., No. 2:24-CV-01148-MMB (E.D. Pa.) (co-lead counsel, along with Mr. Ferich

of Ahdoot & Wolfson). Mr. Johns also has experience in the Pennsylvania state court system,

having argued and won a unanimous reversal in a de facto takings case before the Pennsylvania

Supreme Court. Hughes v. UGI Storage Co., 263 A.3d 1144 (Pa. 2021).

               c. Proposed Interim Co-Lead Counsel Are Committed to Representing and
                  Advancing the Interests of the Class

       Proposed Interim Co-Lead Counsel, and their supporting team, are willing and able to

expend the resources necessary to ensure the vigorous prosecution of the claims asserted by the

Plaintiffs. They and their firms have a proven track-record of success leading complex class action

cases, including data privacy matters. The experience here will be no different. Each attorney


                                                26
       Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 35 of 40




understands the time, energy, and skill necessary to lead this litigation and all have committed the

resources required to ensure the effective and efficient representation of the class members. In fact,

Proposed Interim Co-Lead Counsel have already demonstrated their commitment to this litigation

by devoting substantial resources—including retention of a cybersecurity expert—to this litigation

and coordinating among themselves to file this leadership proposal.

        Just as they have previously done, and as they have done through private ordering here,

Proposed Interim Co-Lead Counsel and the other Proposed Class Counsel are committed to

working cooperatively and efficiently on behalf of Plaintiffs and the proposed class here. As

Proposed Interim Co-Lead Counsel’s history of organization shows, they are inclusive, hence the

decision to request creation of a Plaintiffs’ Executive Committee so that they may include counsel

from other Related Actions. Their past efforts of inclusion have resulted in a group of attorneys

working toward the proper goal—a fair, reasonable, and adequate result. Each of the proposed lead

attorneys would be independently qualified to serve as lead class counsel and have significant

experience in class actions, including data breach class actions.

        In sum, Proposed Interim Co-Lead Counsel are committed to pursuing the best interests of

Plaintiffs and the class in an efficient manner. They understand the time and resources necessary

to pursue this action to a successful resolution. Their firms already have made significant

investments of resources and time into the prosecution of these claims, and they possess the

resources to prosecute this case to a successful resolution and will do so here. The Rule

23(g)(1)(A)(iv) factor is satisfied.

                d. Additional Factors Supporting Appointment Under Rule 23(g)(1)(B)

        The Court may also consider other matters in making appointments, per Rule 23(g)(1)(B).

One consideration here is that Proposed Class Counsel reached a cooperative agreement amongst

themselves about the proposed leadership structure. Rather than file competing leadership


                                                 27
       Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 36 of 40




applications, counsel met and conferred and agreed that it is in the best interest of the Plaintiffs

and putative class members to form a unified front and cooperatively litigate the claims arising

from the Data Breach against FBCS. This private ordering reflects a high level of leadership further

supports the requested appointments. MCL, §§ 10.22, 21.272.

       A second consideration is that the proposed leadership slate is diverse, comprised of

attorneys who come from diverse backgrounds reflective of the diversity of the bar and the classes

they seek to represent—from the standpoint of age, gender, experience, and geographic location.

See Bolch Judicial Institute, Duke Law School, Guidelines and Best Practices for Large and Mass-

Tort MDLs at 38, 45-46 (2d ed. 2018), available at https://judicialstudies.duke.edu/wp-

content/uploads/2018/09/MDL-2nd-Edition-2018-For-Posting.pdf             (“The     judge’s    primary

responsibility in the selection process is to ensure that the lawyers appointed to leadership positions

are capable and experienced and that they will responsibly and fairly represent all plaintiffs,

keeping in mind the benefits of diversity of experience, skills, and backgrounds.”).

       A final consideration is that Proposed Class Counsel include lawyers with a Pennsylvania

presence. Mr. Ferich (Proposed Interim Co-Lead Counsel), Mr. Schaffer (Proposed Interim Co-

Lead Counsel), and Mr. Johns (Proposed Liaison Counsel) are career-long Pennsylvania attorneys

who long have been admitted to practice in the Commonwealth of Pennsylvania and have practiced

in the Eastern District throughout their careers. The KO law firm also has a presence in

Philadelphia.

       The court in City of Providence, Rhode Island v. AbbVie Inc., No. 20-CV-5538, 2020 WL

6049139 (S.D.N.Y. Oct. 13, 2020), highlighted the importance of familiarity with local practice in

selecting lead counsel:




                                                  28
       Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 37 of 40




       Admission to the bar of [this district] requires and reflects a commitment to practice
       in this District and to abide by its rules and practices. ... At a practical level, counsel
       long admitted to this Court, and who plan to continue to practice in this Court, are
       presumptively steeped in its mores and traditions. That provides the Court some
       comfort that both those who will appear in Court and those who will operate
       behind-the-scenes in document production and deposition will adhere to and benefit
       from familiarity with those traditions. Finally, in terms of the sheer cost that will
       be charged to the class (in the event of recovery), a significant presence in [this
       district] for a litigation in [this district] against a [local] defendant matters. This
       case will be tried in [this district], arguments and motion practice will be in [this
       district], and presumably many of the depositions will be taken in [this district].
       Counsel who are in [this district] will be able to handle those matters without travel.

Id. at *7. The presence of Mr. Ferich, Mr. Schaffer, and Mr. Johns, who are Philadelphia-based

lawyers, and the inclusion of KO, a firm with Philadelphia presence, on the proposed leadership

team further supports the requested appointments.

III.   CONCLUSION

       For the reasons set forth above, Plaintiffs request the Court grant their motion and enter an

order: (1) consolidating the Related Actions pursuant to Fed. R. Civ. P. 42(a) under the caption of

the first-filed Reichbart Action, and administratively terminate the Stallone, Croteau, Brooks,

Apthorp, Hwang, Vorburger, Kerr, Vines, Wagner, Frasier, Busby, Courtney, and Morgan

Actions; (2) appointing Andrew W. Ferich of Ahdoot & Wolfson, PC, Kristen Lake Cardoso of

Kopelowitz Ostrow Ferguson Weiselberg Gilbert, and Charles E. Schaffer of Levin Sedran &

Berman, LLP as Interim Co-Lead Counsel; (3) appointing Mariya Weekes of Milberg Coleman

Bryson Phillips Grossman, PLLC, Tyler Bean of Siri & Glimstad LLP, and Jennifer M. French of

Lynch Carpenter, LLP to a Plaintiffs’ Executive Committee; (4) appointing Benjamin F. Johns

of Shub & Johns LLC as Liaison Counsel; and (5) setting a deadline for Plaintiffs to file a

consolidated complaint thirty (30) days from entry of an order appointing class counsel.


Dated: May 22, 2024                                     /s/ Andrew Ferich
                                                        AHDOOT & WOLFSON, PC
                                                        Andrew W. Ferich (PA I.D. 313696)


                                                   29
Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 38 of 40




                                    201 King of Prussia Road, Suite 650
                                    Radnor, PA 19087
                                    Tel.: (310) 474-9111
                                    Fax: (310) 474-8585
                                    aferich@ahdootwolfson.com

                                    Melissa Clark*
                                    AHDOOT & WOLFSON, PC
                                    2600 W. Olive Avenue, Suite 500
                                    Burbank, CA 91505-4521
                                    Tel.: (310) 474-9111
                                    Fax: (310) 474-8585
                                    mclark@ahdootwolfson.com

                                    Kristen Lake Cardoso*
                                    Jeff Ostrow*
                                    KOPELOWITZ OSTROW
                                    FERGUSON WEISELBERG GILBERT
                                    One West Las Olas Blvd., Suite 500
                                    Fort Lauderdale, FL 33301
                                    Tel: 954-525-4100
                                    cardoso@kolawyers.com
                                    ostrow@kolawyers.com
                                    Charles E. Schaffer
                                    LEVIN SEDRAN & BERMAN, LLP
                                    510 Walnut Street, Suite 500
                                    Philadelphia, PA 19106
                                    Tel: 215-592-1500
                                    Fax: 215-592-4663
                                    cschaffer@lfsblaw.com

                                    Proposed Interim Co-Lead Counsel

                                    Mariya Weekes*
                                    MILBERG COLEMAN BRYSON
                                    PHILLIPS GROSSMAN, PLLC
                                    201 Sevilla Avenue, 2ND Floor
                                    Coral Gables, FL 33134
                                    Tel: (786) 879-8200
                                    mweekes@milberg.com

                                    Gary M. Klinger*
                                    MILBERG COLEMAN BRYSON
                                    PHILLIPS GROSSMAN PLLC
                                    227 W. Monroe Street, Suite 2100
                                    Chicago, IL 60606



                               30
Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 39 of 40




                                    Tel: 866-252-0878
                                    Fax: 865-522-0049
                                    gklinger@milberg.com

                                    Gary F. Lynch (PA 56887)
                                    Connor P. Hayes (PA 330447)
                                    LYNCH CARPENTER, LLP
                                    1133 Penn Avenue, 5th Floor
                                    Pittsburgh, PA 15222
                                    T: (412) 322-9243
                                    gary@lcllp.com
                                    connorh@lcllp.com

                                    Jennifer M. French*
                                    LYNCH CARPENTER, LLP
                                    1234 Camino Del Mar
                                    Del Mar, CA 92014
                                    T:(619) 762-1910
                                    jennf@lcllp.com

                                    Tyler J. Bean*
                                    SIRI & GLIMSTAD LLP
                                    74 Fifth Avenue, Suite 500
                                    New York, New York 10151
                                    Tel: (212) 532-1091
                                    tbean@sirillp.com

                                    Proposed Plaintiffs Executive Committee

                                    Benjamin F. Johns (PA ID 201373)
                                    Samantha E. Holbrook (PA ID 311829)
                                    Andrea L. Bonner (PA ID 332945)
                                    SHUB & JOHNS LLC
                                    Four Tower Bridge
                                    200 Barr Harbor Drive, Suite 400
                                    Conshohocken, PA 19428
                                    Phone: (610) 477-8380
                                    bjohns@shublawyers.com
                                    sholbrook@shublawyers.com
                                    abonner@shublawyers.com

                                    Proposed Plaintiffs Liaison Counsel

                                    *pro hac vice pending or to be filed




                               31
       Case 2:24-cv-01876-NIQA Document 8-1 Filed 05/22/24 Page 40 of 40




                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 22nd day of May, 2024, a true and correct

copy of the above and foregoing was filed with the Clerk of Court via the Court’s CM/ECF system

for electronic service on all counsel of record and sent via electronic mail to the following counsel

for Defendant Financial Business and Consumer Solutions, Inc.:

Nathalie Freeman
nfreeman@bakerlaw.com
Robyn Feldstein
rfeldstein@bakerlaw.com
Edward J. McAndrew
emcandrew@bakerlaw.com
BakerHostetler
1735 Market St., Suite 3300
Philadelphia, PA 19103
Tel: (215) 568-3100


Dated: May 22, 2024                                    /s/ Andrew Ferich
                                                       Andrew W. Ferich (PA I.D. 313696)




                                                 32
